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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 STANLEY ROEHRIG, ATTORNEY )                 CIV. NO. 05-00667 SPK-BMK
 AT LAW, ALC; ROEHRIG,         )
 ROEHRIG, WILSON & HARA; A )
 HAWAII PARTNERSHIP; and       )
 GLEN S. HARA,                 )             FINDINGS AND
                               )             RECOMMENDATION TO DENY
           Plaintiffs,         )             PLAINTIFFS’ MOTIONS FOR
                               )             REMAND
      vs.                      )
                               )
 BLOSSOM TONG, SEABURY & )
 SMITH, CHICAGO INSURANCE )
 COMPANY, JOHN DOES 1-100, et )
 al.,                          )
           Defendants.         )
 _____________________________ )

        FINDINGS AND RECOMMENDATION TO DENY PLAINTIFFS’
                       MOTIONS FOR REMAND

             Before the Court are Plaintiffs Stanley Roehrig, Attorney at Law,

 A.L.C., Roehrig, Roehrig, Wilson & Hara, a Hawaii Partnership, and Glenn S.

 Hara’s (collectively “Plaintiffs”) Motions for Remand (“Motions”). The Motions

 were heard on December 22, 2005. After careful consideration of the Motions,

 supporting and opposing memoranda, and arguments of counsel, the Court FINDS

 that Plaintiffs fraudulently joined Defendant Blossom Tong (“Tong”) and

 accordingly, the Court RECOMMENDS that the Motions be Denied.
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                                      BACKGROUND

               This case arises out of the refusal by Defendant Chicago Insurance

 Company (“CIC”) to defend and indemnify Plaintiffs against a legal malpractice

 claim made by a former client of Plaintiffs, George Miyashiro. The Defendants

 include, CIC, Tong, and Tong’s employer, Defendant Seabury & Smith

 (“Seabury”). Based on a review of the Complaint and the submissions of the

 parties, it appears that Tong is an insurance agent who consulted with and advised

 Plaintiffs concerning malpractice coverage. In the Complaint, it is alleged that

 Tong assured Plaintiffs that they had adequate insurance coverage and that the CIC

 policy would cover the Miyashiro claim.

               On October 21, 2005, Defendants filed a Notice of Removal. In the

 Notice of Removal, Defendants allege that this Court has diversity jurisdiction

 pursuant to 28 U.S.C. § 1332. Although the Complaint reflects that complete

 diversity jurisdiction is lacking because both the Plaintiffs and Tong are citizens of

 Hawaii,1 Defendants argue that Tong’s citizenship should be disregarded on the

 ground that Tong cannot be held individually liable to Plaintiffs for her actions

 which were conducted within the scope of her employment at Seabury.



        1
          The Defendants other than Tong are diverse parties. CIC is an Illinois corporation and
 Seabury is a Delaware corporation.

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                                     DISCUSSION

              Removal of an action that alleges claims against a non-diverse

 defendant is proper where it appears that such defendant has been fraudulently

 joined. McCabe v. General Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987). A

 defendant is fraudulently joined if a plaintiff states no cause of action against the

 defendant who otherwise destroys diversity, and if “the failure is obvious

 according to settled law of the state.” Id. at 1339. Fraudulent joinder is a term of

 art and does not require an ill motive. Id. The presumption is against finding

 fraudulent joinder, and the defendants carry a heavy burden of persuasion.

 Nishimoto v. Federman-Bachrach & Assocs., 903 F.2d 709, 712 n.3 (9th Cir.

 1990); Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195 (9th Cir. 1988). Where

 jurisdiction depends on a finding of fraudulent joinder however, the removing

 defendant “is entitled to present the facts showing the joinder to be fraudulent.”

 Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998).

              To decide the issue of whether the citizenship of Tong can properly be

 disregarded for the purpose of establishing diversity jurisdiction, the Court must be

 guided by Hawaii law. See Snead v. Metropolitan Property & Cas. Ins. Co., 237

 F.3d 1080, 1090 (9th Cir. 2001) (citing Hanna v. Plumer, 380 U.S. 460, 465

 (1965); Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)). However, if the


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 Hawaii courts have not specifically addressed the relevant issues, the “[C]ourt must

 make a reasonable determination of the result the highest state court would reach if

 it were deciding the case.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877,

 885 n.7 (9th Cir. 2000).

              The Hawaii Supreme Court has not considered whether an insurance

 agent when acting in the name of a disclosed principal may be personally liable for

 negligence committed within the scope of her employment. It is the law in

 California, however, that an insurance agent under these circumstances is not

 independently liable. Lippert v. Bailey, 241 Cal. App. 2d 376 (1966).

              In Mercado v. Allstate Ins. Co., 340 F.3d 824 (9th Cir. 2003), a case

 applying California’s insurance law, the Court held that an insurance company’s

 employee was fraudulently joined and could not be held individually liable because

 the employee was acting within the course and scope of her employment. The

 Plaintiff in Mercado brought suit against Allstate and Silvia Luevano, an Allstate

 employee who handled Plaintiff’s claim. The Plaintiff alleged that Allstate and

 Luevano breached the covenant of good faith and fair dealing and that they had

 committed unfair business practices. Id. at 825.

              Allstate removed the case to the federal district court and Plaintiff

 moved to remand it back to the state court. Id. In affirming the district court’s


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 ruling that Luevano had been fraudulently joined as a defendant to defeat diversity

 jurisdiction, the Ninth Circuit held:

              All of [Plaintiff’s] allegations against Luevano pertain to
              actions she took in her capacity as an Allstate employee.
              It is well established that, unless an agent or employee
              acts as a dual agent (a circumstance not present in this
              case), they cannot be held individually liable as a
              defendant unless she acts for her own personal
              advantage. See McCabe, 811 F.2d at 1339 (concluding
              defendant-employees were fraudulently joined because
              sworn declarations indicated that they acted in the
              interest of their employer). At all times during her
              dealing with [Plaintiff], Luevano acted as Allstate’s
              agent. Accordingly, Luevano is not individually liable . .
              ..

 Id. at 826 (emphasis added) (citations and footnotes omitted).

              The Court finds that the Lippert rule adopted by the Ninth Circuit in

 Mercado is consistent with and a reasonable extension of Hawaii law. For

 instance, in Davis v. Wholesale Motors, Inc., 86 Haw. 405, 949 P.2d 1026 (Haw.

 App. 1997), the Hawaii Intermediate Court of Appeals (“ICA”) stated that “[a]

 verdict against the principal alone, and not against his agents, is proper when the

 agents acted at the direction of the principal and the principal ratified their

 wrongful conduct.” Id. at 426, 949 P.2d at 1047. In Moore v. Allstate Ins. Co., 6

 Haw. App. 646, 736 P.2d 73 (1987), the ICA held that the plaintiff’s attempt




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 to hold an individual personally liable in her capacity as an insurance agent was

 “without precedent and legally insupportable.” Id. at 651, 736 P.2d at 77.

              Plaintiffs’ reliance on Quality Furniture, Inc. v. Hay, 61 Haw. 89, 595

 P.2d 1066 (1979) and Macabio v. TIG Insurance Co., 87 Haw. 307, 955 P.2d 100

 (1998) for the proposition that Hawaii law is contrary to California law on this

 issue is misplaced. Although those cases establish that under certain circumstances

 an insurance agent may owe a duty to an insured, they do not in any way address

 the question of whether an agent may be personally liable for acts taken in the

 course and scope of the agent’s employment.

              Although Plaintiffs have correctly noted that California courts

 recognize a dual agency exception to the Lippert rule, this exception does not apply

 here. A dual agent “act[s] on behalf of the insured in some way beyond his or her

 capacity as an agent for the insurer.” Good v. Prudential Ins. Co. of Am., 5 F.

 Supp. 2d 804, 808 (N.D. Cal. 1998). A dual agent who acts as either an

 independent broker or has a long-term, special relationship with the insured may be

 sued individually. Id. (citing Maloney v. Rhode Siland Ins. Co., 251 P.2d 1027

 (Cal. Ct. App. 1953)).




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                It is undisputed that Tong acted within the scope of her employment at

 all times and did not exceed her authority in any way.2 Moreover, although Tong

 had previous business encounters with Plaintiffs, those encounters do not amount

 to a long-term or special relationship as required under the dual agency exception

 to the Lippert rule. Mercado, 340 F.3d at 826 n.1 (citing Jones v. Grewe, 234 Cal.

 Rptr. 717, 721 (Cal. Ct. App. 1987) (explaining that a mere allegation that an

 insured purchased insurance and relied on advice from an insurance agent for

 several years is insufficient to imply a greater relationship and that such reliance is

 not uncommon)).

                                        CONCLUSION

                For the foregoing reasons, the Court FINDS that Plaintiffs

 fraudulently joined Tong. Accordingly, the Court RECOMMENDS that the

 Motions for Remand be Denied.




        2
             Bradley Oliver, Tong’s supervisor, had declared that even if Tong made the
 representations as alleged in the Complaint, Seabury would have directed, ratified, authorized,
 and approved Tong’s conduct. (Oliver Dec. ¶4).

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              IT IS SO FOUND AND RECOMMENDED.

              Dated: Honolulu, Hawaii, January 25, 2006.




                                         _____________________________
                                         Barry M. Kurren
                                         United States Magistrate Judge




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 TO DENY PLAINTIFFS’ MOTIONS FOR REMAND




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